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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )
                                         )
            vs.                          )                 8:04CR425
                                         )
JOSE L. MADRIGAL,                        )          SCHEDULING ORDER
                                         )
                   Defendant.            )


      IT IS ORDERED that the following is set for hearing on April 22, 2005 at
1:30 p.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7,
Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha,
Nebraska:

      - Motion to Withdraw as Counsel [53]

     Since this is a criminal case, the defendant must be present, unless
excused by the Court. An interpreter will be provided by the Court.

      DATED this 21st day of April, 2005.

                                       BY THE COURT:


                                       s/Thomas D. Thalken
                                       United States Magistrate Judge
